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               EXHIBIT 1
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                             SETTLEMENT AGREEMENT

        This Settlement Agreement is made and entered into this 28th day of April 2024,

 by and among Defendants, as defined below, and Plaintiffs Jessica Jones, Christina

 Lorenzen, and Amy Coulson individually and as representatives of a class of consumers

 who indirectly paid Defendants for Competitive Cheer products and services in Jones, et

 al. v. Varsity Brands, LLC, et al., Docket No. 2:20-cv-02892, currently pending before

 the Honorable Sheryl H. Lipman in the United States District Court for the Western

 District of Tennessee. Plaintiffs enter into this Settlement Agreement both individually

 and on behalf of the Settlement Classes, as defined below. This Settlement Agreement is

 intended by Defendants and Plaintiffs to fully, finally, and forever compromise, release,

 resolve, discharge, and settle the Released Claims, upon and subject to the terms and

 conditions hereof and subject to the approval of the Court.

        WHEREAS, Plaintiffs allege, among other things, that Defendants engaged in an

 unlawful exclusionary scheme to eliminate competition in the Competitive Cheer market

 and artificially raise prices for Competitive Cheer products and services, in violation of

 Sections 1, 2 and 3 of the Sherman Act, 15 U.S.C. §§ 1-3, and the antitrust and consumer

 protection laws of various states;

        WHEREAS, Defendants deny each and all of Plaintiffs’ claims and allegations of
 wrongdoing arising out of any of the conduct, statements, acts or omissions alleged in the

 Action; have not conceded or admitted any liability in this Action, or that they violated

 any duty owed to Plaintiffs or the Settlement Classes; further deny the allegations that

 Plaintiffs or any member of the Settlement Classes were harmed by any conduct by

 Defendants alleged in the Action or otherwise; have asserted defenses to each of

 Plaintiffs’ claims; and intend to continue with a vigorous defense of this Action if this

 Settlement Agreement is not approved by the Court;




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        WHEREAS, Plaintiffs and Defendants have engaged in extensive discovery

 regarding the facts pertaining to the Settlement Classes’ claims and Defendants’

 defenses;

        WHEREAS, Plaintiffs and Defendants agree that neither this Settlement

 Agreement nor any statement made in the negotiation thereof shall be deemed or

 construed to be an admission or evidence of any violation of any statute or law or of any

 liability or wrongdoing by Defendants or of the truth of any of the claims or allegations

 alleged in the Action;

        WHEREAS, Plaintiffs have thoroughly analyzed the facts and law regarding the

 Action and have concluded that a settlement with Defendants according to the terms set

 forth below is fair, adequate, reasonable, and in the best interest of Plaintiffs and the

 Settlement Classes;

        WHEREAS, despite their belief that they are not liable for the claims asserted

 against them in the Action, Defendants have decided to enter into this Settlement

 Agreement to avoid the expense, inconvenience, and distraction of burdensome and

 protracted further litigation, and thereby to put to rest this controversy with respect to the

 Settlement Classes and avoid the risks inherent in complex litigation;

        WHEREAS, arm’s-length settlement negotiations have taken place between
 Class Counsel and Defendants’ Counsel, including through mediation;

        WHEREAS, this Settlement Agreement, together with the Escrow Agreement,

 embodies all the terms and conditions of the settlement between Defendants and

 Plaintiffs, both individually and on behalf of the Settlement Classes; and

        WHEREAS, the Parties have agreed to finalize this formal settlement agreement

 by April 28, 2024;

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by

 and among the Settling Parties, in consideration of the covenants, agreements, and
 releases set forth herein, that the claims of Plaintiffs and the Settlement Classes be finally


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 and fully settled, compromised, released, and dismissed on the merits and with prejudice

 as to Defendants and the Releasees, without costs except as provided by this Settlement

 Agreement, upon and subject to the approval of the Court, following notice to the

 Settlement Classes, on the following terms and conditions:

                                      DEFINITIONS

        The following terms, as used in any part of this Settlement Agreement, shall have

 the following meanings:

        a.      “Action” means the action captioned Jones, et al. v. Varsity Brands, LLC,

 et al., Docket No. 2:20-cv-02892-SHL-tmp, pending in the United States District Court

 for the Western District of Tennessee.

        b.      “Affiliates” means entities controlling, controlled by or under common

 control with another entity.

        c.      “Class Counsel” refers to Joseph Saveri Law Firm, LLP; PAUL LLP;

 Hartley LLP; Gustafson Gluek PLLC; and Turner Field, PLLC.

        d.      “Class Period” means the period beginning December 10, 2016, and

 ending March 31, 2024.

        e.      “Class Representatives” refers to Jessica Jones, Christina Lorenzen, and

 Amy Coulson.
        f.      “Complaint” means the operative Second Amended Class Action

 Complaint, filed in this Action on February 27, 2024 (ECF No. 576).

        g.      “Court” means the United States District Court for the Western District of

 Tennessee.

        h.      “Defendants” means Varsity Brands, LLC; Varsity Spirit, LLC; Varsity

 Spirit Fashion & Supplies, LLC (collectively, “Varsity”); U.S. All Star Federation, Inc.

 (“USASF”); Jeff Webb; Charlesbank Capital Partners LLC; Charlesbank Equity Fund

 VII, Limited Partnership; Charlesbank Equity Fund VIII, Limited Partnership;
 Charlesbank Equity Fund IX, Limited Partnership; Bain Capital Private Equity, LP; Bain


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 Capital Fund XII, L.P.; Bain Capital Fund (DE) XII, L.P.; and Bain Capital Fund (Lux)

 XII, SCSp.

        i.       “Defendants’ Counsel” means Cleary Gottlieb Steen & Hamilton LLP;

 Baker, Donelson, Bearman, Caldwell & Berkowitz; Locke Lord LLP; Butler Snow LLP;

 Quinn Emanuel Urquhart and Sullivan, LLP; Milbank LLP; and Martin, Tate, Morrow &

 Marston, P.C.

        j.       “Effective Date” means the date on which all the following events and

 conditions have been met or have occurred:

                 i.     All Settling Parties have executed this Settlement Agreement;

                 ii.    The Court has entered an order granting final approval of this

        Settlement Agreement under Rule 23(e) of the Federal Rules of Civil Procedure

        and entered Final Judgment dismissing this Action with prejudice as to the

        Defendants; and

                 iii.   The time for any person with standing to appeal or to seek

        permission to appeal from the Court’s approval of this Settlement Agreement and

        entry of Final Judgment as to the Defendants has expired, or, if appealed, the

        Court’s approval of this Agreement and the Final Judgment as to the Defendants

        have been affirmed or undisturbed in their entirety by the court to which such
        appeal is taken and such affirmance has become no longer subject to further

        appeal or review; provided, however, a modification or reversal on appeal of any

        Fee and Cost Amount awarded by the Court or the Plan of Allocation approved by

        the Court shall not be deemed a modification of all or part of the terms of this

        Settlement Agreement or the Final Judgment. Neither the provisions of Rule 60 of

        the Federal Rules of Civil Procedure nor the All Writs Act, 28 U.S.C. § 1651,

        shall be taken into account in determining the above-stated times.

        k.       “Escrow Account” means that escrow account to be established with a
 bank or trust company pursuant to the terms and conditions of the Escrow Agreement.


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        l.      “Escrow Agent” means the bank or trust company that agrees to establish

 and maintain the Escrow Account pursuant to the terms of the Escrow Agreement.

        m.      “Escrow Agreement” means an escrow agreement in a form mutually

 satisfactory to the Escrow Agent, Settlement Classes, and Defendants.

        n.      “Fee and Cost Amount” means an amount to be sought by Class Counsel

 to provide payment of their reasonable attorneys’ fees, reimbursement of their costs

 (including all costs related to settlement administration and notice to the Settlement

 Classes), and payment of service awards to the Class Representatives.

        o.      “Final Judgment” means a final order approving the Settlement

 Agreement under Federal Rule of Civil Procedure 23(e) and dismissing the Action and all

 claims therein against Defendants with prejudice as to all Settlement Classes Members,

 together with entry of a final judgment sufficient under Rule 58 of the Federal Rules of

 Civil Procedure. Notwithstanding the foregoing, the Settling Parties agree that the

 Court’s determination of the Fee and Cost Amount, or modifications to any amounts of

 individual payments shall not affect whether a judgment or other order is deemed a Final

 Judgment.

        p.      “IRS” means the United States Internal Revenue Service.

        q.      “Person” means an individual or an entity.
        r.      “Released Claims” means those claims released pursuant to Paragraphs

 10-15 of this Settlement Agreement.

        s.      “Releasees” refers jointly and severally, individually and collectively, to

 Defendants, and each of their former, past, and present, direct and indirect, parents,

 subsidiaries, affiliates, divisions, predecessors, successors, assigns, and insurers, and their

 respective former, past, and present officers, directors, stockholders, members, general or

 limited partners, partnerships, employees, management companies, financial or

 investment advisors, co-investors, bankers, accountants, attorneys, executors, trusts,
 trustees, administrators, and anyone claiming by or through them, as identified in


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 Appendix A. The Releasees shall also include any direct or indirect majority or minority

 investor in any Releasee, as well as their respective past and present, direct and indirect,

 parents, subsidiaries, affiliates, divisions, predecessors, and successors, and their

 respective past and present officers, directors, stockholders, members, general or limited

 partners, partnerships, advisors (including financial or investment advisors), bankers,

 accountants, attorneys, executors, trusts, trustees, administrators, independent

 consultants, partners, and employees, and any fund or managed account managed or

 advised directly or indirectly by any Defendant or Releasee or its affiliates, and any entity

 that managed, manages, advised, or advises any fund or managed account that made a

 direct or indirect investment in any Releasee at any time and, as to each such entity, its

 past and present, direct and indirect, parents, subsidiaries, affiliates (including, but not

 limited to, management companies, funds, investment advisors, and investment entities),

 divisions, predecessors, and successors, and their respective past and present officers,

 directors, advisors, independent consultants, partners, and employees.

         t.      “Releasors” refers jointly and severally, individually and collectively to

 each of the Plaintiffs and the Settlement Class Members, and to their respective past and

 present officers, directors, employees, agents, shareholders, attorneys, servants,

 representatives, parent companies, subsidiaries, Affiliates, divisions, partners, insurers,
 receivers, and bankruptcy trustees and the predecessors, successors, heirs, executors,

 executives, administrators, beneficiaries, estates, and assigns of any of the foregoing.

         u.      “Settlement Administrator” means the entity approved by the Court to

 administer the Settlement Agreement according to its terms under the supervision of

 Class Counsel. Plaintiffs shall select the Settlement Administrator, subject to approval of

 the Court.

         v.      “Settlement Fund Amount” means eighty-two million five hundred

 thousand dollars ($82,500,000.00) payable in lawful money of the United States, and any
 interest earned on amounts held in the Escrow Account.


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        w.      “Settlement Classes” means:

                Injunctive Relief Class: All natural persons and entities in the United
                States that indirectly paid Varsity or any Varsity subsidiary or affiliate,
                from December 10, 2016, through March 31, 2024, for: (a) registration,
                entrance, or other fees and expenses associated with participation in one or
                more Varsity Cheer Competitions, including registration fees to USASF;
                (b) Varsity Cheer Apparel; (c) Varsity Cheer Camp Fees; or (d)
                accommodations at one or more Varsity Cheer Competitions, including
                registration fees to USASF.

                State Law Damages Class: All natural persons and entities in Arizona,
                Arkansas, California, Connecticut, the District of Columbia, Florida,
                Hawaii, Idaho, Iowa, Kansas, Maine, Massachusetts, Maryland, Michigan,
                Minnesota, Mississippi, Missouri, Montana, Nebraska, Nevada, New
                Hampshire, New Mexico, New York, North Carolina, North Dakota,
                Oregon, Rhode Island, South Dakota, Tennessee, Utah, Vermont,
                Washington, West Virginia, and Wisconsin, that indirectly paid Varsity or
                any Varsity subsidiary or affiliate, from December 10, 2016, through
                March 31, 2024, for: (a) registration, entrance, or other fees and expenses
                associated with participation in one or more Varsity Cheer Competitions;
                (b) Varsity Cheer Apparel; (c) Varsity Cheer Camp Fees; or (d)
                accommodations at one or more Varsity Cheer Competitions.

                Excluded from the Settlement Classes are Defendants, their parent
                companies, subsidiaries and affiliates, officers, executives, and employees;
                Defendants’ attorneys in this case, federal government entities and
                instrumentalities, states or their subdivisions, and all judges and jurors
                assigned to this case.
        x.      “Settlement Class Member” means any person who meets the “Settlement

 Classes” definition above and who has not timely and validly opted out of the settlement

 set forth in this Settlement Agreement.
        y.      “Settling Parties” means, collectively, Plaintiffs, on behalf of themselves

 and the Settlement Classes, and Defendants.

        z.      “Tax Expenses” means any tax payments, including interest and penalties

 due on income earned by the Settlement Fund Amount.

        aa.     “Varsity Cheer Apparel” shall mean any item of clothing, including

 footwear, or accessory sold by Varsity that was intended for, purchased for, or used in

 conjunction with competitive cheerleading.

        bb.     “Varsity Cheer Competitions” shall mean any cheer competition owned,
 hosted, sponsored by, and/or produced by Varsity.


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        cc.     “Varsity Cheer Camp Fees” shall mean any money paid directly or

 indirectly for attendance at a cheerleading camp owned, hosted, sponsored by, and/or

 produced by Varsity.

 A.     Approval of This Settlement Agreement, Preliminary Approval, Notice, Final
        Approval and Judgment, and Dismissal of Claims
        1.      Best Efforts to Effectuate this Settlement. The Settling Parties shall use

 their best efforts to effectuate this Settlement Agreement and obtain a Court order that

 Defendants are excused from further proceedings in the Action, and Defendants shall

 cooperate in the Class Representatives’ efforts to promptly seek and obtain the Court’s

 preliminary and final approval of this Settlement Agreement and to secure the prompt,

 complete, and final dismissal with prejudice of the Action as to Defendants.

        2.      Settlement Classes Certification. The Settling Parties hereby stipulate for

 purposes of settlement only that the requirements of Rules 23(a) and 23(b)(3) of the

 Federal Rules of Civil Procedure are satisfied, and, subject to Court approval, the

 Settlement Classes, as defined above, shall be certified for settlement purposes only.

 Defendants have not waived and expressly reserve the right to oppose class certification

 and to seek an appeal under Rule 23(f) of the Federal Rules of Civil Procedure of any

 order certifying a class other than the Settlement Classes. Nothing in this Settlement

 Agreement may be used in any judicial or administrative proceedings respecting the
 propriety of class certification other than for purposes of effectuating this Settlement

 Agreement. The Court’s certification of the Settlement Classes is not and shall not be

 deemed to be the adjudication of any fact or issue for any purpose other than the

 accomplishment of the provisions of this Settlement Agreement and shall not be

 considered as law of the case, res judicata, or collateral estoppel in this or any other

 proceeding unless the Court has entered Final Judgment.

        3.      Motion for Preliminary Approval and Notice to Class. Unless modified
 by the Court, within fifteen (15) days from the date of execution of this Settlement



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 Agreement, Plaintiffs shall submit the executed Agreement to the Court with a motion for

 preliminary approval (the “Preliminary Approval Motion”). The Preliminary Approval

 Motion shall request entry of an order in form and substance mutually satisfactory to the

 Settling Parties, preliminarily approving the settlement, authorizing dissemination of

 notice to the Settlement Classes that includes notice of the opportunity to timely opt out,

 and scheduling a fairness hearing for final approval of the settlement. Additionally,

 Plaintiffs may seek an award of the Fee and Cost Amount.

        4.      Notice. Class Counsel shall, in accordance with Rule 23(c)(2) of the

 Federal Rules of Civil Procedure, and unless modified by the Court, direct the Settlement

 Administrator to provide the Settlement Classes with notice within thirty (30) calendar

 days after the Court’s order granting the Preliminary Approval Motion (the “Preliminary

 Approval Order”), pursuant to Paragraph 17 of this Settlement Agreement. The

 Preliminary Approval Motion shall include the proposed form of, method for, and

 timetable for disseminating notice to the Settlement Classes and ask the Court to find that

 the proposed form of and method for dissemination of the notice to the Settlement

 Classes constitutes valid, due and sufficient notice to the Settlement Classes, constitutes

 the best notice practicable under the circumstances, and complies fully with the

 requirements of due process and Rule 23 of the Federal Rules of Civil Procedure.
        5.      Dissemination of Notice. Class Counsel shall propose, and Defendants’

 Counsel shall not unreasonably oppose, that the Notice be disseminated using a

 methodology developed by the Settlement Administrator.

        6.      Settlement Administrator. The Settlement Classes shall retain a

 Settlement Administrator that shall, under the direction of Class Counsel, be responsible

 for the notice administration process, distribution of the Settlement Fund to the

 Settlement Classes, withholding and paying applicable taxes, and other duties as provided

 herein. Class Counsel shall obtain approval by the Court of the choice of Settlement
 Administrator. The Settlement Administrator shall sign and be bound by the Protective


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 Order entered in the Action. The fees and expenses of the Settlement Administrator shall

 be reimbursed out of the Settlement Fund Amount. Defendants shall provide funds for

 settlement administration in accordance with Paragraph 16(a). This amount shall be

 immediately available for reimbursement of actual costs, fees, and expenses related to

 providing notice to the Settlement Classes. Such costs, fees, and expenses related to

 providing notice to the Settlement Classes shall be paid exclusively from the Settlement

 Fund and shall not revert to Defendants under any circumstances.

        7.      Motion for Final Approval and Entry of Final Judgment. Not less than

 thirty-five (35) calendar days before the date set by the Court to hold a fairness hearing to

 consider whether this Settlement should be finally approved, Class Representatives shall

 submit, in consultation with Defendants, a Motion for Final Approval of the Settlement.

 Defendants shall not object to a Motion for Final Approval of the Settlement by the Court

 seeking the following:

                a.        Fully and finally approving this Settlement Agreement and its

                          terms as being a fair, reasonable, and adequate settlement as to the

                          Settlement Classes within the meaning of Rule 23(e) of the Federal

                          Rules of Civil Procedure and directing its consummation according

                          to its terms and conditions;
                b.        Finding that the notice given to the Settlement Classes constitutes

                          the best notice practicable under the circumstances and complies in

                          all respects with the due, adequate, and sufficient notice

                          requirements of Federal Rule of Civil Procedure 23, and meets the

                          requirements of due process;

                c.        Directing that the Action and all claims therein be dismissed with

                          prejudice and, except as provided for in this Settlement

                          Agreement, without costs;
                d.        Discharging and releasing the Releasees from the Released Claims;


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                e.      Permanently barring and enjoining the institution and prosecution,

                        by any Settlement Class Member, of any other action against the

                        Releasees based on the Released Claims;

                f.      Reserving continuing and exclusive jurisdiction over the settlement

                        and this Settlement Agreement, including all future proceedings

                        concerning the administration, interpretation, consummation, and

                        enforcement of this settlement, to the United States District Court

                        for the Western District of Tennessee;

                g.      Finding under Rule 54(b) of the Federal Rules of Civil Procedure

                        that there is no just reason for delay and directing that the

                        judgment of dismissal as to Defendants shall be final and entered

                        forthwith; and

                h.      Requiring Class Counsel to file with the Clerk of the Court under

                        seal a record with the names and addresses of individuals who

                        timely opt out of the Settlement Classes and to provide a copy of

                        the record to Defendants’ Counsel.

 No later than five (5) business days after the Court fully and finally approves this

 Settlement Agreement and its terms, Plaintiffs shall seek entry of Final Judgment of the
 Action.

           8.   Effect on Continued Proceedings against Defendants. On the date the

 Court enters an order preliminarily approving the Settlement Agreement, Plaintiffs and

 each Settlement Class Member, and anyone claiming through or on behalf of them, shall

 be barred and enjoined from commencing, instituting, continuing to prosecute,

 intervening in, participating in as class members or otherwise, or receiving any benefits

 or relief from any action or any proceeding against Defendants in any court of law or

 equity, arbitration tribunal, administrative forum, or other forum of any kind, asserting
 any of the Released Claims against the Releasees and any claims arising out of, relating


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 to, or in connection with the defense, settlement, or resolution of the Action or the

 Released Claims, except for claims relating to the enforcement of the terms of this

 Settlement Agreement.

        9.      Notification of Federal and State Officials. Defendants shall notify

 federal and state officials of the Settlement as specified in 28 U.S.C. §§ 1715(a) & (b).

 B.     Release and Discharge

        10.     Released Claims. In addition to the effect of the Final Judgment entered in

 the Action, on the Effective Date and in consideration of payment of the Settlement Fund

 Amount described in Paragraph 16 of this Settlement Agreement, the Releasees shall be

 fully, finally, and forever released, acquitted, and discharged from any and all manner of

 claims, demands, rights, actions, suits, and causes of action, whether class, individual, or

 otherwise in nature, damages whenever incurred, liabilities of any nature whatsoever,

 including costs, expenses, penalties, injuries, attorneys’ fees, judgments, liens, losses,

 debts, obligations, guarantees, indemnities, and obligations of every kind and nature in

 law, equity, or otherwise that Releasors, or any one of them, whether directly,

 representatively, derivatively, or in any other capacity, ever had, now have, or hereafter

 can, shall, or may have against the Releasees, jointly or severally, whether known or

 unknown, relating in any way whatsoever to the claims, demands, or causes of action
 asserted in the Action or arising out of the factual predicate alleged in the Second

 Amended Complaint filed in the Action. The Parties intend for this release to extinguish

 all claims that have been or could have been brought by the Releasors based on the

 matters set forth or otherwise alleged or referred to in the Second Amended Complaint

 filed in the Action. For the sake of clarity, the Settling Parties recognize and agree that

 (1) Released Claims shall include claims that are known or unknown, suspected or

 unsuspected, asserted or unasserted, foreseen or unforeseen, actual or contingent,

 liquidated or unliquidated, disclosed or undisclosed, contingent or accrued, regardless of
 the type or amount of relief or damages claimed; and (2) Released Claims shall include


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 any unknown claims regardless of whether, if known by Releasors, such claims might

 have affected this Settlement Agreement with Defendants and the release of the

 Releasees.

        11.     The Released Claims do not include any claim arising in the ordinary

 course between (a) any of the Releasees, on the one hand and (b) Plaintiffs, Settlement

 Class Members, or Releasors, on the other hand, for any product defect, breach of

 warranty, breach of contract, claim under the Uniform Commercial Code, claims for

 personal or bodily injury (including claims for sexual or emotional abuse, whether direct,

 indirect, or vicariously), claims for violation of ERISA, claims for discrimination,

 classification or misclassification, workplace safety, employee leave or benefits or claims

 under the WARN Act, or overtime pay under the Fair Labor Standards Act or similar

 state labor codes.

        12.     Covenant Not to Sue. Releasors, and anyone claiming through or on

 behalf of them, shall not sue or otherwise seek to establish liability against Defendants or

 any of the Releasees based, in whole or in part, on any of the Released Claims. Releasors

 acknowledge that they and Defendants each consider it to be a material term of this

 Settlement Agreement that all Releasors will be bound by the provisions of this

 paragraph.
        13.     Select Relinquishment of Rights. Upon final approval and entry of Final

 Judgment by the Court, Defendants waive and relinquish as against each Settlement Class

 Member any rights that they might otherwise have pursuant to arbitration agreements,

 forum selection clauses, or jury waiver clauses with respect to the Released Claims.

        14.     Waiver of California Civil Code Section 1542 and Similar Laws. The

 Releasors acknowledge that for the consideration received hereunder, it is their intention

 to release, and they are releasing all Released Claims, whether known or unknown. In

 furtherance of this intention, the Releasors expressly waive and relinquish, to the fullest
 extent permitted by law, any rights or benefits conferred by the provisions of California


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 Civil Code Section 1542 (“Section 1542”) and similar statutes or common law principles

 in other states. The Releasors acknowledge that they have been advised by Class Counsel

 of the contents and effects of Section 1542, which provides:

        A general release does not extend to claims that the creditor or releasing
        party does not know or suspect to exist in his or her favor at the time of
        executing the release and that if known by him or her, would have
        materially affected his or her settlement with the debtor or released
        party.
        15.     Express Waiver of Rights. The provisions of the Release set forth above

 in Paragraph 10 shall apply according to their terms, regardless of provisions of Section
 1542 or any equivalent, similar, or comparable present or future law or principle of law

 of any jurisdiction. The Releasors may hereafter discover facts other than or different

 from those that they know or believe to be true with respect to the subject matter of the

 Released Claims, but the Releasors hereby expressly waive and fully, finally, and forever

 relinquish any and all rights and benefits existing under (i) Section 1542 or any

 equivalent, similar, or comparable present or future law or principle of law of any

 jurisdiction and (ii) any law or principle of law of any jurisdiction that would limit or

 restrict the effect or scope of the provisions of the release and covenant not to sue set

 forth in Paragraphs 10, 11, and 12.

 C.     Settlement Consideration: Payment

        16.     Settlement Payment. Defendants, jointly and severally, agree to pay the
 Settlement Fund Amount in the following installments:

                a.      A non-reversionary payment to cover the notice and settlement

                        administration fees. Plaintiffs shall solicit a competitive bid for

                        notice and settlement administration, select a vendor, and provide a

                        good faith estimate of the cost to Defendants. This payment shall

                        not exceed $2.5 million. This payment will be fully funded into the
                        escrow account within thirty (30) calendar days from the later of



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                       the date the Preliminary Approval Order is entered on the Court’s

                       docket and the date the amount is provided in writing to

                       Defendants with accompanying documentation of the selected

                       vendor.

                b.     The Balance of the Settlement Fund Amount (the “Settlement

                       Fund Amount” less the amount disbursed under Paragraph 16(a)

                       will be deposited into an Escrow Account within thirty (30)

                       calendar days from the date the Court’s Final Approval of the

                       Settlement Agreement is no longer subject to appeal by anyone,

                       including, for example, any objector to the Settlement. The Parties

                       agree that they will not appeal the Court’s Final Approval of the

                       Settlement. The Parties agree that the deposit will be due even if an

                       appeal is taken. Subject to Paragraph 16(c) of this Agreement, the

                       Balance of the Settlement Fund, along with any accrued interest,

                       will revert to Defendants in the event an appeal is successful.

                c.     For the avoidance of doubt, a modification or reversal on appeal of

                       any Fee and Cost Amount awarded by the Court or of the Plan of

                       Allocation approved by the Court shall not trigger any reversion of
                       any portion of the Settlement Fund Amount, including the Balance

                       of the Settlement Fund or any interest accrued thereon.

                d.     Neither the provisions of Rule 60 of the Federal Rules of Civil

                       Procedure nor the All Writs Act, 28 U.S.C. § 1651, shall be taken

                       into account in determining the deadlines stated above in

                       Paragraphs 16(a)-(b).

        17.     Notice, Fees, and Costs. Upon entry of the Court’s order granting the

 Preliminary Approval Motion (the “Preliminary Approval Order”), Plaintiffs and the
 Settlement Administrator shall provide notice to the Settlement Classes as set forth in the


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 Preliminary Approval Order. Costs, fees, and expenses related to administering the

 settlement, including providing notice to the Settlement Classes, shall be paid out of the

 Settlement Fund Amount.

        18.     No Additional Payments by Defendants. Under no circumstances will

 Defendants or any of the Releasees be required to pay more than the Settlement Fund

 Amount, and under no circumstances shall this Settlement Agreement be construed to

 require Defendants or any of the Releasees to make any other payments.

        19.     No Other Discovery. From the date this Settlement Agreement is fully

 executed, neither Defendants nor Plaintiffs or any Settlement Class Member, shall file

 motions against the other or initiate or participate in any discovery, motion practice, or

 proceeding directly adverse to the other in connection with the Action, except as

 specifically provided for herein. Defendants and Plaintiffs shall not be obligated to

 respond or supplement prior responses to formal discovery that have been previously

 propounded by the other in the Action. Defendants shall retain the right, by motion or

 otherwise, to protect, or attempt to protect, from disclosure any and all documents and

 information designated as Confidential and/or Attorneys’ Eyes Only under the Discovery

 Confidentiality Order in this Action (ECF No. 62). Plaintiffs shall not take a position

 regarding any such efforts.
 D.     Settlement Fund Amount

        20.     Exclusivity of Relief in Settlement Fund Amount. Each Settlement Class

 Member shall look solely to the Settlement Fund Amount for settlement and satisfaction,

 as provided herein, of all claims released by the Releasors under Paragraphs 10-15

 herein. Except as provided by order of the Court after finally approving the Settlement

 Agreement, no Settlement Class Member shall have any interest in the Settlement Fund

 Amount or any portion thereof. Service awards to Class Representatives may be ordered

 or authorized by the Court and paid from the Settlement Fund Amount. Any payment or
 lack of payment of service awards shall have no effect on the finality of the Settlement


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 Agreement or the claims released by the Releasors under Paragraphs 10-15 of this

 Settlement Agreement.

        21.     Escrow Fund Interest. Payments into the Escrow Account may, when

 made, be invested in instruments secured by the full faith and credit of the United States,

 and any interest earned thereon shall add to and become part of the Settlement Fund

 Amount.

        22.     Allocation of Settlement Fund Amount. All Settlement Class Members

 will receive payment from the Settlement Fund Amount and shall only be excluded from

 receiving payment if they timely and validly opt out in accordance with the procedures

 set forth in the notice served on the Settlement Classes, subject to approval by the Court.

 Allocating the Settlement Fund Amount among the Settlement Classes shall be based on

 a Plan of Allocation approved by the Court and implemented by the Settlement

 Administrator. The proposed Plan of Allocation shall also comply with Paragraph 32.

 Defendants reserve and retain any and all legal rights to object to or otherwise respond to

 the Plan of Allocation proposed by Plaintiffs and/or to propose their own Plan of

 Allocation to the Court.

        23.     No Liability for Distribution of Settlement Fund Amount. Except as

 provided in Paragraph 16, neither Defendants nor any of the Releasees shall have any
 responsibility for, financial obligation for, or liability whatsoever with respect to the

 investment, distribution, use, or administration of the Settlement Fund Amount,

 including, but not limited to, the costs and expenses of such investment, distribution, or

 administration. Defendants, and Releasees shall likewise have no responsibility for,

 financial obligation for, or liability whatsoever with respect to distribution of the

 Settlement Fund Amount. Defendants shall not be responsible or otherwise liable for any

 disputes relating to the amount, allocation, or distribution of any attorneys’ fees, costs, or

 service awards.




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        24.        Distribution of Settlement Fund Amount. After the Effective Date, the

 Settlement Fund Amount will be distributed in accordance with the Court’s orders and

 this Settlement Agreement, including a Plan of Allocation that Class Counsel shall

 submit at the appropriate time for approval by the Court.

        25.        No Opt-Out Reduction. There shall be no reduction of the Settlement

 Fund by reason of any Settlement Class Member timely and appropriately opting out of

 the Settlement.

 E.     Attorneys’ Fees and Reimbursement of Costs; Service Awards

        26.        Class Counsel may, in its sole discretion, seek an award of the Fee and

 Cost Amount at the time of filing the Preliminary Approval Motion or at such later time

 as Class Counsel deems appropriate. Attorneys’ fees and expenses awarded by the Court

 shall be payable from the Settlement Fund upon award, notwithstanding the existence of

 any timely filed objections thereto, or potential for appeal therefrom, or collateral attack

 on the Settlement or any part thereof, subject to Class Counsel’s obligation to make

 appropriate refunds or repayments to the Settlement Fund plus accrued interest at the

 same net rate as is earned by the Settlement Fund, if, as a result of any appeal and/or

 further proceedings on remand, or successful collateral attack, the fee or cost award is

 reduced or reversed.
        27.        Any order or proceeding relating to any application for, or approval of, the

 Fee and Cost Amount, the pendency of any such application, or any appeal or review of

 an order relating thereto or reversal or modification thereof, shall not operate to terminate

 or cancel this Settlement Agreement, or affect or delay the finality of the Final Judgment.

        28.        Class Counsel shall have sole authority to determine the allocation of

 attorneys’ fees awarded by the Court. Defendants and the Releasees shall have no

 responsibility for and no liability whatsoever with respect to the division of attorneys’

 fees and expenses among Class Counsel, and any negotiation or dispute among Class
 Counsel in that regard shall not operate to terminate or cancel this Settlement Agreement


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 or affect or delay the finality of the Final Judgment. Defendants and the Releasees shall

 have no responsibility for and no liability whatsoever with respect to any payment to

 Class Counsel or to any other counsel representing any Plaintiff or any member of the

 Settlement Classes or to any other Person who may assert some claim thereto or to any

 other fee and expense award that the Court may make in this Action, other than as set

 forth in this Settlement Agreement.

        29.     Service Awards. Class Counsel may seek Court approval for service

 awards to the Class Representatives to compensate them for their participation in this

 Action. Such service awards shall be paid out of the Settlement Fund Amount after Court

 approval and the Effective Date, and in no event shall Defendants or any of the Releasees

 be obligated to pay anything in addition to the Settlement Fund Amount.

 F.     Disbursement of the Settlement Fund Amount

        30.     Disbursements of the Settlement Fund Amount may be distributed to

 Settlement Class Members in accordance with a Plan of Allocation subject to approval by

 the Court.

        31.     The Settlement Fund shall be applied to pay Settlement Class Members

 their share of the Settlement Fund Amount according to the Plan of Allocation after the

 following deductions have been made:
                a.     the costs of all required notices and settlement administration;

                b.     any tax obligation incurred as a result of interest earned on the

                       Settlement Fund Amount; and

                c.     Class Counsel’s Fee and Cost Amount and any Class

                       Representative service awards in the amount awarded by the Court.

        32.     Balance Remaining in Settlement Fund Amount; No Reversion. If

 monies remain from the Settlement Fund Amount following all distribution efforts

 approved by the Court (whether by reason of tax refunds, uncashed checks, or otherwise),
 that cannot be economically or efficiently distributed to certain Settlement Class


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 Members (because of the costs of distribution as compared to the amount remaining),

 Class Counsel shall, with the agreement of Defendants, make an application to the Court

 for such sums to be used to make cy pres payments for the benefit of the members of the

 Settlement Classes.

 G.     Settlement Consideration: Prospective Relief

        33.    Defendants agree to maintain, for a period of five (5) years from the date

 of execution of this Settlement Agreement, the following conduct:

               a.      Varsity will not condition a Competitive Cheer athlete or team’s

                       eligibility to compete at an end-of-season championship

                       competition on prior participation at a Varsity-owned Cheer Camp.

                       To the extent that Varsity continues to require completion of

                       Varsity’s Squad Credentialing Program for attendance at such a

                       competition, it will make such credentialing available without

                       requiring attendance at a camp at a reasonable cost to teams or

                       participants seeking Squad Credentialing.

               b.      Varsity will not offer or require exclusive purchasing arrangements

                       as a condition for participation in the Varsity Family Plan,

                       Network Program, or any rebate or discount program relating to
                       Cheer Competitions.

               c.      Varsity will not require participants in 35% or more of its Cheer

                       Competitions to stay at Varsity-approved accommodations as a

                       prerequisite to their participation in Varsity-owned Cheer

                       Competitions, including, without limitation, through Varsity’s Stay

                       to Play or Stay Smart programs.

               d.      USASF will not disclose to any of its event producer members

                       confidential information regarding cheer competition schedules or
                       attendance records shared with USASF by another event producer


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                   member that is affirmatively identified by that event producer

                   member as “confidential” and either “not to be shared with any

                   other USASF member” or other similar language. “Confidential

                   information” does not include, without limitation, information that

                   is publicly known at the time of disclosure to USASF or when it

                   becomes publicly known at no fault of USASF (which may include

                   through disclosure at a USASF Board or committee meeting),

                   information that USASF learns from another source not subject to

                   any confidentiality limitations, or information that is shared with

                   USASF with the purpose or understanding that it will be shared

                   with other members. For the purpose of effectuating this provision,

                   within thirty days after the Court’s Final Approval of the

                   Settlement, USASF will provide notice to its event producer

                   members that (1) they have the choice to designate any information

                   shared with USASF as “confidential” and “not to be shared with

                   any other USASF member”; (2) to exercise such choice, they must

                   affirmatively identify the information as “confidential” and either

                   “not to be shared with any other USASF member” or words to that
                   effect in writing contemporaneous with their submission of such

                   information to USASF; and (3) that any information shared with

                   the USASF that is not so designated as confidential may be

                   publicly disclosed or used for any legitimate USASF purpose.

                   USASF will subsequently provide a similar such notice to its event

                   producer members and applicants at or around the time that it

                   circulates event producer membership applications each year.

             e.    Within sixty days after final approval of this Settlement
                   Agreement, Varsity will confirm to Class Counsel in writing that it


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                         has implemented the provisions of Paragraphs 33(a)-(c) above, and

                         USASF will confirm to Class Counsel that it has implemented the

                         provision in Paragraph 33(d) above.

 H.     Rescission of the Settlement Agreement

        34.     Option to Rescind. If (a) this Settlement Agreement is not approved by

 the Court in substantially the form drafted and agreed upon by the Parties, including

 certification of the Settlement Classes; or (b) if any material objections to the Settlement

 Agreement are sustained by the Court; or (c) if final approval of this Settlement does not

 occur and the Court does not enter the Final Order and Judgment substantially in the form

 agreed to by the Parties; then Defendants and Class Representatives shall each, in their

 respective sole discretion, have the option to rescind this Settlement Agreement in its

 entirety by providing written notice to the undersigned counsel, by personal delivery,

 email, or by overnight courier within ten (10) business days of an Order by the Court

 satisfying any of the preceding conditions in this paragraph. A modification or reversal

 on appeal of the Fee and Cost Amount awarded by the Court, the Class Representatives’

 service awards, or the Plan of Allocation shall not be deemed a modification of this

 Settlement Agreement or the Final Judgment and shall not provide an option to rescind

 under this paragraph.
        35.     Supplemental Agreement. Defendants shall have the option to rescind this

 Agreement if a certain number of potential Settlement Members timely exclude

 themselves from the Settlement Classes as set forth in a confidential agreement which

 shall not be filed on the docket of this Action (the “Supplemental Agreement”).

 Notwithstanding that the Settling Parties have agreed to bring the substantive content of

 the Supplemental Agreement to the attention of the Court in a confidential letter to the

 Court, the Settling Parties shall keep the terms of the Supplemental Agreement

 confidential, except if compelled by judicial process to disclose the Supplemental
 Agreement.


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        36.     Effect of Rescission Pursuant to Paragraphs 34 and 35. If the Settlement

 Agreement is rescinded, canceled, or terminated pursuant to either Paragraph 34 or

 Paragraph 35, any and all obligations pursuant to this Settlement Agreement shall cease

 immediately. In no event, however, shall any funds deposited pursuant to Paragraph 6 for

 notice and/or administration be refunded.

        37.     Use of Agreement as Evidence. This Settlement Agreement, regardless of

 whether it shall become final, and any and all negotiations, documents, and discussions

 associated with it, shall be governed by Rule 408 of the Federal Rules of Evidence and

 shall not be deemed or construed to be an admission or evidence of any violation of any

 statute or law or of any liability or wrongdoing by Defendants or of the truth of any of the

 claims or allegations made in the Action, and evidence thereof shall not be admissible or

 used directly or indirectly in any way in the Action or in any other action or proceeding,

 except an action to enforce or interpret the Settlement Agreement. The parties expressly

 reserve all of their rights if this Settlement does not become final in accordance with the

 terms of this Settlement Agreement.

 I.     Taxes

        38.     Responsibility regarding Taxes. Class Counsel shall be solely responsible

 for directing the Settlement Administrator to file all informational and other tax returns
 necessary to report any taxable and/or net taxable income earned by the Settlement Fund

 Amount. Further, Class Counsel shall be solely responsible for directing the Escrow

 Agent to pay from the Settlement Fund, as and when legally required, any and all Tax

 Expenses. Class Counsel shall be entitled to direct the Escrow Agent in writing to pay

 customary and reasonable Tax Expenses, including reasonable professional fees and

 expenses incurred in connection with carrying out their responsibilities as set forth in this

 paragraph, from the Settlement Fund by notifying the Escrow Agent in writing.

 Defendants and the Releasees shall have no responsibility to make any tax filings or tax
 payments relating in any way to payments made pursuant to this Settlement Agreement.


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        39.     Settlement Administrator is IRS Administrator. For purposes of § 468B

 of the Internal Revenue Code of 1986, as amended, and the regulations promulgated

 thereunder, the “Administrator” of the Escrow Account shall be the Settlement

 Administrator, who shall timely and properly file or cause to be filed on a timely basis,

 all tax returns necessary or advisable with respect to the Escrow Account (including

 without limitation all income tax returns, all informational returns, and all returns

 described in Treas. Reg. § 1.468B-2(1)).

        40.     Treatment of Escrow Account. The Settling Parties shall treat, and shall

 cause the Settlement Administrator to treat, the Escrow Account as being at all times a

 “qualified settlement fund” (“QSF”) within the meaning of Treas. Reg. § 1.468B-1. The

 Settlement Fund Amount will be invested in instruments secured by the full faith and

 credit of the United States or an interest bearing or non-interest bearing deposit obligation

 of Citibank N.A. insured by the Federal Deposit Insurance Corporation to the applicable

 limits, and any interest earned (or negative interest) thereon shall become part of (or paid

 from) the Settlement Fund Amount. Defendants shall be the “transferor” to the QSF

 within the meaning of Section 1.468B-1(d)(1) of the Treasury Regulations with respect to

 the Settlement Fund Amount or any other amount transferred to the QSF pursuant to this

 Settlement Agreement. The Settlement Administrator shall be the “administrator” of the
 QSF within the meaning of Section 1.468B-2(k)(3) of the Treasury Regulations,

 responsible for causing the filing of all tax returns required to be filed by or with respect

 to the QSF, paying from the QSF any taxes owed by or with respect to the QSF, and

 complying with any applicable information reporting or tax withholding requirements

 imposed by Section 1.468B-2(l)(2) of the Treasury Regulations or any other applicable

 law on or with respect to the QSF. Defendants and the Settlement Administrator shall

 reasonably cooperate in providing any statements or making any elections or filings

 necessary or required by applicable law for satisfying the requirements for qualification




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 as a QSF, including any relation-back election within the meaning of Section 1.468B-1(j)

 of the Treasury Regulations.

        41.     Treatment of Escrow Account as QSF. The Settling Parties, their counsel,

 the Settlement Administrator, and the Escrow Agent agree that they will not ask the

 Court to take any action inconsistent with the treatment of the Escrow Account as a QSF.

 In addition, the Settlement Administrator and, as required, the parties shall timely make

 such elections as necessary or advisable to carry out the provisions of this paragraph,

 including the “relation-back election” (as defined in Treas. Reg. § 1.468B-l(j)) back to

 the earliest permitted date. Such elections shall be made in compliance with the

 procedures and requirements contained in such regulations. It shall be the responsibility

 of the Settlement Administrator to timely and properly prepare and deliver the necessary

 documentation for signature by all necessary parties and thereafter to cause the

 appropriate filing to occur. All provisions of this Settlement Agreement shall be

 interpreted in a manner that is consistent with the Escrow Account being a “qualified

 settlement fund” within the meaning of Treas. Reg. § 1.468B-1.

        42.     Settlement Fund Amount Interest. Interest earned by the Settlement Fund

 Amount shall be for the benefit of the Settlement Classes.

        43.     Tax Withholding and Reporting. Disbursements from the Settlement
 Fund Amount for the payment of any taxes shall be made by the Escrow Agent in

 accordance with all applicable state and federal statutes and regulations.

 J.      Miscellaneous

        44.     Objections. The procedures and requirements regarding Settlement Class

 Members’ rights and options, including filing objections in connection with and/or

 appearing at the fairness hearing, are intended to ensure the efficient administration of

 justice and the orderly presentation of any Settlement Class Members’ objections to the

 Settlement Agreement, in accordance with such Settlement Class Member’s due process
 rights. The Settling Parties will request that the Preliminary Approval Order further


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 provide that objectors who fail to properly or timely file their objections, along with the

 required information and documentation set forth above, or to serve them as provided

 above, shall not be heard during the fairness hearing, nor shall their objections be

 considered by the Court.

        45.     Headings. The headings used in this Settlement Agreement are intended

 for the convenience of the reader only and shall not affect the meaning of this Settlement

 Agreement.

        46.     No Party Deemed to Be the Drafter. None of the parties hereto shall be

 deemed to be the drafter of this Settlement Agreement or any provision hereof for the

 purpose of any statute, case law, or rule of interpretation or construction that would or

 might cause any provision to be construed against the drafter hereof.

        47.     Entire Agreement. This Settlement Agreement constitutes the entire

 agreement as between the Settling Parties pertaining to the settlement of the Action and

 supersedes any and all prior and contemporaneous undertakings of the Settling Parties in

 connection therewith. This is an integrated agreement. This Settlement Agreement may

 be modified or amended only by a writing executed by Class Counsel and Defendants’

 Counsel and approved by the Court.

        48.     Determination of Illegal, Invalid, or Unenforceable Provision. With the
 exception of Paragraphs 10-15 of this Settlement Agreement, if any one or more of the

 provisions of this Settlement Agreement shall for any reason be held to be illegal, invalid

 or unenforceable in any respect, such illegality, invalidity or unenforceability shall not

 affect any other provision if Defendants’ Counsel and Class Counsel mutually agree to

 proceed as if such illegal, invalid, or unenforceable provision had never been included in

 the Settlement Agreement. If any portion or all of Paragraphs 10-15 of this Settlement

 Agreement shall for any reason be held to be illegal, invalid or unenforceable in any

 respect, Class Representatives and Defendants shall each, in their sole discretion, have
 the option to rescind this Settlement Agreement in its entirety by providing written notice


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 to the undersigned counsel, by personal delivery, email, or by overnight courier within

 ten (10) business days of such holding.

        49.     Retention of Rights. Defendants retain their rights under the Protective

 Order in this Action (ECF No. 62) to seek to maintain the confidentiality of any of their

 documents so designated, including with respect to any appeal in the Action. Plaintiffs

 will not take a position regarding any such efforts.

        50.     Choice of Law. All terms of this Settlement Agreement shall be governed

 and interpreted according to the substantive laws of Tennessee without regard to its

 choice of law or conflict of laws principles.

        51.     Consent to Jurisdiction. The Court retains exclusive jurisdiction over all

 matters relating to the implementation, enforcement, and performance of the Settlement

 Agreement. The Settling Parties hereby irrevocably submit to the exclusive and

 continuing jurisdiction of the Court for any suit, action, proceeding, or dispute arising out

 of or related to this Settlement Agreement or the applicability or interpretation of this

 Settlement Agreement, including without limitation any suit, action, proceeding, or

 dispute relating to the Released Claims and Paragraphs 10-15 of this Settlement

 Agreement.

        52.     Execution in Counterparts. This Settlement Agreement may be executed
 in counterparts by Class Representatives and Defendants, and a PDF signature shall be

 deemed an original signature for purposes of executing this Settlement Agreement and so

 executed shall constitute one agreement.

        53.     Binding Effect. This Settlement Agreement shall be binding on, and inure

 to the benefit of, the heirs, successors, and assigns of the Settling Parties. Without

 limiting the generality of the foregoing, each and every covenant and agreement herein

 shall be binding on all Settlement Class Members and all Releasees and Releasors.




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        54.     Timeframe. To the extent that any timeframe set out in this Settlement

 Agreement is ambiguous, said ambiguity shall be resolved by applying the convention

 contained in Rule 6 of the Federal Rules of Civil Procedure.

        55.     Confidentiality of Settlement Negotiations. Class Counsel shall keep

 strictly confidential and not disclose to any third party, including specifically any counsel

 representing any other current, future, or former party to the Action, any non-public

 information regarding the Settling Parties’ negotiation of the settlement or the Settlement

 Agreement, except that the Settling Parties may file under seal any documents concerning

 this settlement or the negotiation of the Settlement Agreement in connection with a

 motion or proceeding to enforce or contest the terms of this Settlement Agreement.

 Information contained within this Settlement Agreement shall be considered public. After

 Preliminary Approval, the Settling Parties reserve the right to issue a press release

 regarding execution of the Settlement Agreement and the amount paid in connection with

 the Settlement Agreement. The Settling Parties agree that before Preliminary Approval of

 the Settlement Agreement, they shall not publish, issue, or cause to be issued any such

 press release concerning the Settlement Agreement. In response to media inquiries, the

 Settling Parties, and their counsel, agree to limit their response to “the parties have

 reached an agreement to settle the matter.” However, the Settling Parties agree that
 nothing in this paragraph precludes or limits Defendants from communicating with their

 employees, limited partners, investors, or insurers about the Settlement Agreement as

 they deem appropriate in their sole discretion, and as contemplated by the prospective

 relief provisions in Paragraph 33 of this Settlement Agreement.

        56.     Notices. Any notice or other communication required or permitted to be

 delivered to any party under this Settlement Agreement shall be in writing and shall be

 deemed properly delivered, given, and received when delivered either by hand, by

 registered mail, by courier or express delivery service, or by electronic mail, (or to such




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 other address or electronic mail address, as such party shall have specified in a written

 notice given to the other parties):

        If to Class Counsel:

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                601 California Street, Suite 1505
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        If to Defendants’ Counsel:
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                         MILBANK LLP
                         Richard G. Parker
                         1850 K Street NW
                         Washington, DC 20006
                         Tel: (202) 835-7500
                         rparker@milbank.com
                                                                     agreed to this
                IN WITNESS WHEREOF, the Settling Parties hereto have

         Settlement Agreement as of the date first herein written above.




            Ween) Voix
         George S. Gry
                                                       ZL0-gPaul E. Coggins    ~Y/
         Steven J. Kaiser                                   Brendan P. oe
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   XT, L.P., Bain Capital Fund (DE) XI,            Charlesbank Etyuity Fund IX, LP
   L.P., end Bain Capital Fund (Lux) XI,
   SCSp




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                                      APPENDIX A

Varsity Brands, LLC
Varsity Brands, Inc. (Delaware)
Hercules Achievement Holdings, LLC (Delaware)
Hercules Achievement, LLC (Delaware)
Hercules VB Holdings, LLC (Delaware)
Varsity Brands Holding CO., LLC (Indiana)
Varsity Spirit LLC
Varsity Spirit Fashions & Supplies, LLC
BCPE Hercules Holdings, LP (Delaware)
BCPE Hercules VB Topco, Inc. (Delaware)
BCPE Hercules Achievement Topco, Inc. (Delaware)
U.S. All Star Federation, Inc.
Bain Capital, LP
Bain Capital Private Equity
Bain Capital Fund XII, L.P.
BCIP Associates V, LP
Bain Capital Fund (Lux) XII, SCSp
Bain Capital Fund (DE) XII, L.P.
BCIP Associates V-B, LP
Randolph Street Ventures, L.P. 2018-88
Charlesbank Capital Partners, LLC
Charlesbank Associates Fund IX, Limited Partnership
Charlesbank Equity Fund VIII, Limited Partnership
Charlesbank Equity Fund VII, Limited Partnership
CB Offshore Equity Fund VIII, L.P.
CB Offshore Equity Fund VII, L.P.
CB Parallel Fund VII, Limited Partnership
Charlesbank Equity Coinvestment Fund VIII, Limited Partnership
Charlesbank Equity Coinvestment Fund VII, Limited Partnership
CB Associates Fund VIII, Limited Partnership
Charlesbank Equity Fund IX, Limited Partnership
CB Offshore Equity Fund IX, Limited Partnership
Charlesbank Executives Fund IX, Limited Partnership
CB Hercules Holdings, LLC
Charlesbank Equity Fund IX GP, Limited Partnership
Charlesbank Equity Fund VIII GP, Limited Partnership
Charlesbank Equity Fund VII GP, Limited Partnership
Charlesbank Capital Partners, LP
Jeff Webb




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